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 8                             UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  June 2022 Grand Jury

11   UNITED STATES OF AMERICA,                  CR No.    2:22-cr-00398-SB

12                Plaintiff,                    I N F O R M A T I O N

13                v.                            [18 U.S.C. § 113(a)(5): Simple
                                                Assault of a Person Under Age
14   NESTOR REYES RIVERA,                       Sixteen; 49 U.S.C. § 46506(1):
                                                Application of Certain Criminal
15                Defendant.                    Laws to Acts on Aircraft]
16                                              [CLASS A MISDEMEANOR]
17

18          The Grand Jury charges:
19                     [18 U.S.C. § 113(a)(5); 49 U.S.C. § 46506(1)]
20   On or about May 25, 2022, while on an aircraft in the special
21   aircraft jurisdiction of the United States, namely, Southwest
22   Airlines Flight 1277 from Austin, Texas, to Long Beach, California,
23   which landed in Long Beach, California, within the Central District
24   of California, defendant NESTOR REYES RIVERA assaulted N.C., who was
25   under the age of sixteen years, by intentionally using a display of
26   //
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 1   force that reasonably caused her to fear immediate bodily harm,

 2   specifically, by touching N.C.’s right leg and right thigh.

 3                                              STEPHANIE S. CHRISTENSEN
                                                Acting United States Attorney
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 6                                              SCOTT M. GARRINGER
                                                Assistant United States Attorney
 7                                              Chief, Criminal Division
 8                                              DAVID T. RYAN
                                                Assistant United States Attorney
 9                                              Deputy Chief, General Crimes
                                                Section
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                                                VARUN BEHL
11                                              Assistant United States Attorney
                                                General Crimes Section
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